EXHIBIT 4
                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION
BANK POLICY INSTITUTE, OHIO CHAM-
BER OF COMMERCE, OHIO BANKERS
LEAGUE, AMERICAN BANKERS ASSOCI-
ATION and CHAMBER OF COMMERCE OF
THE UNITED STATES OF AMERICA,                       Case No. 2:24-cv-04300
                                                    District Judge Algenon L. Marbley
                      Plaintiffs,                   Magistrate Judge Chelsey M. Vascura
       v.

BOARD OF GOVERNORS OF THE
FEDERAL RESERVE SYSTEM,

                      Defendant.


                                    Declaration of Hugh Carney

       1.      My name is Hugh Carney, and I am the Executive Vice President of Financial In-

stitution Policy and Regulatory Affairs at the American Bankers Association (“ABA”). In that

capacity, my work focuses on bank capital standards, bank powers, and risk management issues. I

have been employed by ABA since 2011.

       2.      I submit this declaration in support of Plaintiffs’ motion for summary judgment. I

am of the age of majority, am competent to make this declaration, and make this declaration based

upon my personal knowledge. If called as a witness, I could and would testify competently thereto.

       3.      The ABA represents the overwhelming majority of banks in the United States.

Founded in 1875, the ABA is the voice for the nation’s $24.1 trillion banking industry, which is

composed of small, regional and large banks that together employ approximately 2.1 million peo-

ple, safeguard $19.2 trillion in deposits and extend $12.7 trillion in loans. The ABA supports its
members with education, tools, and dedicated advocacy before Congress, regulatory agencies, and

courts.

          4.   The ABA and many ABA members or their affiliated entities filed comment letters

on the proposed Enhanced Disclosure of the Models Used in the Federal Reserve’s Supervisory

Stress Test document, 82 Fed. Reg. 59,547 (Dec. 15, 2017), the proposed Stress Testing Policy

Statement, 82 Fed. Reg. 59,528 (Dec. 15, 2017), the proposed Policy Statement on the Scenario

Design Framework for Stress Testing, 82 Fed. Reg. 59,533 (Dec. 15, 2017), and/or the proposed

Amendments to the Regulatory Capital, Capital Plan, and Stress Test Rules, 83 Fed. Reg. 18,160

(Apr. 25, 2018).

          5.   Many ABA members are required to participate in the Board of Governors of the

Federal Reserve System’s supervisory stress tests and comply with the capital requirements that

are at issue in this case, including Bank of America Corporation; Citigroup, Inc.; Citizens Financial

Group, Inc.; Goldman, Sachs & Co.; Huntington Bancshares Inc.; JPMorgan Chase & Co.; Morgan

Stanley, The PNC Financial Services Group, Inc.; U.S. Bancorp; and Wells Fargo & Co.

          6.   A core part of ABA’s mission is to support common-sense policies allowing banks

of all sizes to better serve their customers and communities. ABA thus advocates for a regulatory

framework that is uniform and transparent, with public confidence in the financial system at the

forefront. Bank regulations have significant real-world consequences that stretch far beyond the

regulated entities themselves—affecting the stability of the financial system, growth in under-

served communities, and the cost and availability of financial products and services for consumers

and businesses.

          7.   ABA has long been concerned about the opaque nature of the stress testing pro-

gram, as the stakes for both banks and the economy are high. The lack of transparency surrounding




                                                 2
the current stress-testing regime contradicts the ABA’s policy objectives of supporting a regulatory

environment that drives a healthy economy for all. The ABA supports and advocates for banks

subject to the stress tests, and the actions challenged in this case conflict with the ABA’s policy

objectives. Accordingly, challenging the actions in this litigation is germane to the organizational

purposes of the ABA.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed this 19th day of March, 2025, in Washington, D.C.




                                                Hugh Carney

                                                On behalf of the American Bankers Associa-
                                                tion




                                                 3
